Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                H&B Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Bullington Lumber Co., Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4625 Hickory Lane
                                  Tuscumbia, AL 35674
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Colbert                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                            page 1
            Case 19-82417-CRJ11    Doc 1 Filed 08/13/19 Entered 08/13/19 12:15:33                                                       Desc Main
                                              Document           Page 1 of 44
Debtor    H&B Holdings, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                 page 2
            Case 19-82417-CRJ11    Doc 1 Filed 08/13/19 Entered 08/13/19 12:15:33                                                             Desc Main
                                              Document           Page 2 of 44
Debtor   H&B Holdings, Inc.                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                   page 3
           Case 19-82417-CRJ11    Doc 1 Filed 08/13/19 Entered 08/13/19 12:15:33                                                         Desc Main
                                             Document           Page 3 of 44
Debtor    H&B Holdings, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 13, 2019
                                                  MM / DD / YYYY


                             X   /s/ Harvey F. Robbins, III                                               Harvey F. Robbins, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Stuart M. Maples                                                      Date August 13, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stuart M. Maples
                                 Printed name

                                 Maples Law Firm, PC
                                 Firm name

                                 200 Clinton Ave. West, Ste 1000
                                 Huntsville, AL 35801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (256) 489-9779                Email address



                                 Bar number and State




Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                 page 4
            Case 19-82417-CRJ11    Doc 1 Filed 08/13/19 Entered 08/13/19 12:15:33                                                      Desc Main
                                              Document           Page 4 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 13, 2019                         X /s/ Harvey F. Robbins, III
                                                                       Signature of individual signing on behalf of debtor

                                                                       Harvey F. Robbins, III
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                   Desc Main
                                                                      Document     Page 5 of 44
 Fill in this information to identify the case:
 Debtor name H&B Holdings, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                ALABAMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alabama                                                         Withholding taxes                                                                                         Unknown
 Department of
 Revenue
 PO Box 327483
 Montgomery, AL
 36132
 Alabama                                                         Taxes                                                                                                     Unknown
 Deptartment of
 Revenue
 Department of
 Revenue Legal
 Division
 PO Box 320001
 Montgomery, AL
 36132
 Arnold's Truck Stop,                                            Trade Debt                                                                                                 $4,290.66
 Inc.
 1460 Highway 20
 Tuscumbia, AL
 35674
 Carter Oil Company                                              Trade Debt                                                                                               $11,904.85
 PO Box 487
 Sheffield, AL 35660
 CB&S                                                            Guaranty                                                                                             $1,163,185.60
 PO Box 910
 Russellville, AL
 35653
 EV Logistics                                                    Trade Debt                                                                                               $20,000.00
 26 W. Zarate St.
 Rio Grande City, TX
 78582
 First Metro Bank                                                Guaranty                                                                                             $2,908,981.13
 406 West Avalon
 Ave.
 Muscle Shoals, AL
 35661



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               Case 19-82417-CRJ11                            Doc 1       Filed 08/13/19 Entered 08/13/19 12:15:33                                        Desc Main
                                                                         Document     Page 6 of 44
 Debtor    H&B Holdings, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Harvey F. Robbins,                                              Loan                                                                                                 $2,576,000.00
 III
 100 B South Main
 St.
 Tuscumbia, AL
 35674
 JRC Transportation,                                             Trade Debt                                                                                                 $3,900.00
 Inc.
 PO Box 15101
 Newark, NJ 07192
 Nextran Truck                                                   Trade Debt                                                                                               $25,128.04
 Center
 PO Box 820
 Fultondale, AL
 35068
 Ohio Valley                                                     Trade Debt                                                                                                 $7,000.00
 Transport, Inc.
 750 Economy Dr.
 Clarksville, TN
 37043
 Premier Trailers,                                               Trade Debt                                                                                               $12,455.46
 LLC
 PO Box 206553
 Dallas, TX 75320
 Robbins Properties,                                             Loans                                                                                                    $54,383.67
 Inc.
 100 B South Main
 St.
 Tuscumbia, AL
 35674
 Shappire Lumber                                                 Trade Debt                                                                                             $300,000.00
 Co., Inc.
 109548 Tammany
 Lane
 Hamilton, MT 59840
 Sunbelt Paper and                                               Trade Debt                                                                                                 $9,875.78
 Packaging
 PO Box 521
 Saginaw, AL 35137
 Taylor Supply                                                   Trade Debt                                                                                                 $3,970.96
 Center
 c/o Roy Taylor
 PO Box 1026
 Russellville, AL
 35653
 Total Quality                                                   Trade Debt                                                                                               $27,250.00
 Logistics
 PO Box 634558
 Cincinnati, OH
 45263




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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               Case 19-82417-CRJ11                            Doc 1       Filed 08/13/19 Entered 08/13/19 12:15:33                                        Desc Main
                                                                         Document     Page 7 of 44
 Debtor    H&B Holdings, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Troy Corporation                                                Trade Debt                                                                                               $88,607.28
 PO Box 824736
 Philadelphia, PA
 19182
 United Lumber                                                   Trade Debt                                                                                             $285,682.65
 980 Ford Rd
 Muscle Shoals, AL
 35661
 Weyerhauser                                                     Trade Debt                                                                                               $68,041.30
 PO Box 843568
 Dallas, TX 75284




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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               Case 19-82417-CRJ11                            Doc 1    Filed 08/13/19 Entered 08/13/19 12:15:33                                           Desc Main
                                                                      Document     Page 8 of 44
 Fill in this information to identify the case:

 Debtor name            H&B Holdings, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           236,441.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           236,441.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            12,780.01


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            21,330.96

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,607,281.94


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,641,392.91




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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           Case 19-82417-CRJ11                                       Doc 1           Filed 08/13/19 Entered 08/13/19 12:15:33                                                           Desc Main
                                                                                    Document     Page 9 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First Metro Bank                                        Checking                        9496                                         $20.00




           3.2.     First Metro Bank                                        Checking                        3459                                         $20.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $40.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                         Desc Main
                                                                     Document      Page 10 of 44
 Debtor         H&B Holdings, Inc.                                                                      Case number (If known)
                Name


           11a. 90 days old or less:                                 57,008.49    -                                    0.00 = ....                 $57,008.49
                                              face amount                                 doubtful or uncollectible accounts




           11b. Over 90 days old:                               164,393.01        -                                   0.00 =....                  $164,393.01
                                              face amount                                 doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $221,401.50
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials
           Chemicals for lumber
           treatment                                  3/1/19                                    $20,000.00       Recent cost                       $10,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                    $10,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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           Case 19-82417-CRJ11                           Doc 1          Filed 08/13/19 Entered 08/13/19 12:15:33                         Desc Main
                                                                      Document      Page 11 of 44
 Debtor         H&B Holdings, Inc.                                                            Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, furniture                                                             $2,000.00    Comparable sale                     $2,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers & software                                                         $3,000.00    Comparable sale                     $3,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $5,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Saws, pumps, small tools                                                    Unknown       Comparable sale                     Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33              Desc Main
                                                                     Document      Page 12 of 44
 Debtor         H&B Holdings, Inc.                                                            Case number (If known)
                Name


 51.        Total of Part 8.                                                                                                              $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                              Unknown                                           Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Book of Business                                                           Unknown                                           Unknown



 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33              Desc Main
                                                                     Document      Page 13 of 44
 Debtor         H&B Holdings, Inc.                                                           Case number (If known)
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Derksen receivable balance                                                                                             Unknown
           Nature of claim        Operating Account
           Amount requested                                               $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33       Desc Main
                                                                     Document      Page 14 of 44
 Debtor          H&B Holdings, Inc.                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $40.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $221,401.50

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $5,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $236,441.50           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $236,441.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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          Case 19-82417-CRJ11                                Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                         Desc Main
                                                                         Document      Page 15 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   De Lage Landen                                 Describe debtor's property that is subject to a lien                     $8,231.33                Unknown
       Creditor's Name                                Forklift
       PO Box 41602
       Philadelphia, PA 19101
       Creditor's mailing address                     Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Wells Fargo Lift                               Describe debtor's property that is subject to a lien                     $4,548.68                Unknown
       Creditor's Name                                Forklift
       Manufacturer Services
       Group
       San Francisco, CA 94120
       Creditor's mailing address                     Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                Desc Main
                                                                     Document      Page 16 of 44
 Debtor       H&B Holdings, Inc.                                                                 Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $12,780.01

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                              Desc Main
                                                                     Document      Page 17 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $8,037.96         Unknown
           Alabama Department of Revenue                             Check all that apply.
           PO Box 327483                                                Contingent
           Montgomery, AL 36132                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,228.00         Unknown
           Alabama Dept. of Revenue                                  Check all that apply.
           PO Box 2401                                                  Contingent
           Montgomery, AL 36140                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes

           Last 4 digits of account number 8959                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 8
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                  Desc Main
                                                                     Document      Page 18 of 44
 Debtor       H&B Holdings, Inc.                                                                              Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $12,065.00    Unknown
           Alabama Deptartment of Revenue                            Check all that apply.
           Department of Revenue Legal                                  Contingent
           Division                                                     Unliquidated
           PO Box 320001                                                Disputed
           Montgomery, AL 36132
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes

           Last 4 digits of account number 1980                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $4,290.66
           Arnold's Truck Stop, Inc.                                                   Contingent
           1460 Highway 20                                                             Unliquidated
           Tuscumbia, AL 35674                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,925.00
           ASM Consulting, Inc.                                                        Contingent
           2949 County Road 30                                                         Unliquidated
           Florence, AL 35634                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,600.00
           Baggett Services, Inc.                                                      Contingent
           2 South 32nd St.                                                            Unliquidated
           Birmingham, AL 35233                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,845.00
           C.H. Robinson Worldwide, Inc.                                               Contingent
           Receivables Control Corp. (RCC)                                             Unliquidated
           7373 Kirkwood Ct., Ste 200                                                  Disputed
           Osseo, MN 55369
                                                                                   Basis for the claim:     Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $11,904.85
           Carter Oil Company                                                          Contingent
           PO Box 487                                                                  Unliquidated
           Sheffield, AL 35660                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 8
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                           Desc Main
                                                                     Document      Page 19 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $1,163,185.60
          CB&S                                                                  Contingent
          PO Box 910                                                            Unliquidated
          Russellville, AL 35653                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guaranty
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          EV Logistics                                                          Contingent
          26 W. Zarate St.                                                      Unliquidated
          Rio Grande City, TX 78582                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $2,908,981.13
          First Metro Bank                                                      Contingent
          406 West Avalon Ave.                                                  Unliquidated
          Muscle Shoals, AL 35661                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guaranty
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,050.00
          Free State Trucking, LLC                                              Contingent
          64 Co Rd 3729                                                         Unliquidated
          PO Box 398                                                            Disputed
          Addison, AL 35540
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $596.00
          Global Fire Sprinklers, LLC                                           Contingent
          4242 Bryson Blvd                                                      Unliquidated
          Florence, AL 35630                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,717.50
          Haleyville Saw Shop, Inc.                                             Contingent
          1556 Highway 243 S                                                    Unliquidated
          Haleyville, AL 35565                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $2,576,000.00
          Harvey F. Robbins, III                                                Contingent
          100 B South Main St.                                                  Unliquidated
          Tuscumbia, AL 35674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                    Desc Main
                                                                     Document      Page 20 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,400.00
          Hoker Trucking                                                        Contingent
          30923 52nd Ave                                                        Unliquidated
          Dixon, IA 52745                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $174.25
          Integrated Corporate Solutions, Inc.                                  Contingent
          PO Box 443                                                            Unliquidated
          Florence, AL 35631                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          JLE Industries, LLC                                                   Contingent
          119 ICMI Rd, Ste 210                                                  Unliquidated
          Dunbar, PA 15431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,300.00
          John Ellis Trucking, Inc.                                             Contingent
          3078 Lake Grove Dr.                                                   Unliquidated
          Hernando, MS 38632                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,900.00
          JRC Transportation, Inc.                                              Contingent
          PO Box 15101                                                          Unliquidated
          Newark, NJ 07192                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $950.00
          Just Right Services, Inc.                                             Contingent
          574 Rose of Sharon Rd                                                 Unliquidated
          Cutler, IL 62238                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,653.00
          Miner Saw, Inc.                                                       Contingent
          PO Box 2214                                                           Unliquidated
          Decatur, AL 35609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                    Desc Main
                                                                     Document      Page 21 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,950.00
          MJS Transportation, Inc.                                              Contingent
          PO Box 816                                                            Unliquidated
          Decatur, IN 46733                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,637.73
          Motion Industries, Inc.                                               Contingent
          PO Box 404130                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,128.04
          Nextran Truck Center                                                  Contingent
          PO Box 820                                                            Unliquidated
          Fultondale, AL 35068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,000.00
          Ohio Valley Transport, Inc.                                           Contingent
          750 Economy Dr.                                                       Unliquidated
          Clarksville, TN 37043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,450.00
          On Time Truck Hauling                                                 Contingent
          21820 Grand Lancelot Dr.                                              Unliquidated
          Kingwood, TX 77339                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $966.56
          Pendu MFG, Inc.                                                       Contingent
          718 North Shirk Rd.                                                   Unliquidated
          New Holland, PA 17557                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $64.19
          Pitney Bowes                                                          Contingent
          PO Box 371887                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                    Desc Main
                                                                     Document      Page 22 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,455.46
          Premier Trailers, LLC                                                 Contingent
          PO Box 206553                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $400.80
          Purchase Power                                                        Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $516.60
          Quill                                                                 Contingent
          PO Box 37600                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,383.67
          Robbins Properties, Inc.                                              Contingent
          100 B South Main St.                                                  Unliquidated
          Tuscumbia, AL 35674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Shappire Lumber Co., Inc.                                             Contingent
          109548 Tammany Lane                                                   Unliquidated
          Hamilton, MT 59840                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $960.80
          Shoals Rubber & Gasket                                                Contingent
          PO Box 1786                                                           Unliquidated
          Decatur, AL 35602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,875.78
          Sunbelt Paper and Packaging                                           Contingent
          PO Box 521                                                            Unliquidated
          Saginaw, AL 35137                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                    Desc Main
                                                                     Document      Page 23 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,970.96
          Taylor Supply Center                                                  Contingent
          c/o Roy Taylor                                                        Unliquidated
          PO Box 1026                                                           Disputed
          Russellville, AL 35653
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Three Chimney Express, Inc.                                           Contingent
          2962 Three Chimney Rd                                                 Unliquidated
          Viroqua, WI 54665                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $640.00
          Timber Products Inspection                                            Contingent
          PO Box 919                                                            Unliquidated
          Conyers, GA 30012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,250.00
          Total Quality Logistics                                               Contingent
          PO Box 634558                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,607.28
          Troy Corporation                                                      Contingent
          PO Box 824736                                                         Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,200.00
          TW3 c/o Transport Clearing East                                       Contingent
          4651 Charlotte Park Dr., Ste 450                                      Unliquidated
          Charlotte, NC 28217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $285,682.65
          United Lumber                                                         Contingent
          980 Ford Rd                                                           Unliquidated
          Muscle Shoals, AL 35661                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                    Desc Main
                                                                     Document      Page 24 of 44
 Debtor       H&B Holdings, Inc.                                                                      Case number (if known)
              Name

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,127.13
           Vulco Auto Supply                                                    Contingent
           416 Buffalo Rd.                                                      Unliquidated
           Lawrenceburg, TN 38464                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $68,041.30
           Weyerhauser                                                          Contingent
           PO Box 843568                                                        Unliquidated
           Dallas, TX 75284                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Karen Schwartz McClure, Esq.
           1609 Richard Arrington Jr. Blvd. South                                                     Line     3.42                                   1013
           Birmingham, AL 35205
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     21,330.96
 5b. Total claims from Part 2                                                                            5b.    +     $                  7,607,281.94

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      7,628,612.90




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 8
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                     Desc Main
                                                                     Document      Page 25 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Forklift
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     De Lage Landen
             List the contract number of any                                         PO Box 41602
                   government contract                                               Philadelphia, PA 19101


 2.2.        State what the contract or                   Lease on property:
             lease is for and the nature of               188.9 x 220 IRR LOT IN
             the debtor's interest                        PT OF SE 1/4 /DB 2010
                                                          PG 44-92-4494; 114.57 x
                                                          200 IRR TRACT IN PT
                                                          OF SW 1/4 OF SW 1/4
                                                          /DB 2010 PG 4492-4494;
                                                          60.60 X 305.36 IRR IN
                                                          PT OF NE 1/4 OF SE 1/4
                                                          & PT OF LOT 20
                                                          HICKERSON HEIGHTS
                                                          SUB /DB 2011 PG
                                                          9450-9452; 18.84
                                                          ACRES IN NW 1/4 OF
                                                          SW 1/4 LESS R O W
                                                          /DB 2010 PG 4492-4494;
                                                          244,6 X 391.1 IRR LOT
                                                          IN NW 1/4 OF SW 1/4
                                                          /DB 2010 PG 4492-4
                                                          494; 1.09 ACRES IN PT
                                                          OF NW 1/4 OF SW 1/4
                                                          150.8 X 383.25 IRR/DB
                                                          2010 PG'S 4486 & 4488
                                                          & 4490 DB 2010 PG
                                                          4492-4494; 5 acres in
                                                          SE 1/4 of SE 1/4 /DB
                                                          2014 PG 13210-13211
                  State the term remaining
                                                                                     H&B Properties, LLC
             List the contract number of any                                         100 B South Main St.
                   government contract                                               Tuscumbia, AL 35674


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                      Desc Main
                                                                     Document      Page 26 of 44
 Debtor 1 H&B Holdings, Inc.                                                                  Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.3.        State what the contract or                   Forklift
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Wells Fargo Lift
             List the contract number of any                                          Manufacturer Services Group
                   government contract                                                San Francisco, CA 94120




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
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          Case 19-82417-CRJ11                            Doc 1          Filed 08/13/19 Entered 08/13/19 12:15:33             Desc Main
                                                                      Document      Page 27 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Beverly Robbins                   100 B South Main St.                               First Metro Bank                  D
                                               Tuscumbia, AL 35674                                                                  E/F       3.8
                                                                                                                                    G




    2.2      Harvey F.                         100 B South Main St.                               CB&S                              D
             Robbins, III                      Tuscumbia, AL 35674                                                                  E/F       3.6
                                                                                                                                    G




    2.3      Harvey F.                         100 B South Main St.                               First Metro Bank                  D
             Robbins, III                      Tuscumbia, AL 35674                                                                  E/F       3.8
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                  Desc Main
                                                                     Document      Page 28 of 44
 Fill in this information to identify the case:

 Debtor name         H&B Holdings, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,102,193.24
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $6,262,152.51
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $9,350,720.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                             Desc Main
                                                                     Document      Page 29 of 44
 Debtor       H&B Holdings, Inc.                                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               CB&S Bank                                                   5/30/19;                         $37,267.56           Secured debt
               PO Box 910                                                  6/10/19;                                              Unsecured loan repayments
               Russellville, AL 35653                                      7/20/19
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               First Metro Bank                                            5/28/19;                         $54,000.00           Secured debt
               406 West Avalon Ave.                                        6/27/19;                                              Unsecured loan repayments
               Muscle Shoals, AL 35661                                     7/18/19
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Haleyville Saw Shop                                         5/17/19;                         $10,018.00           Secured debt
               1556 Hwy 243 South                                          5/22/19;                                              Unsecured loan repayments
               Haleyville, AL 35565                                        6/11/19;
                                                                                                                                 Suppliers or vendors
                                                                           6/17/19;
                                                                                                                                 Services
                                                                           6/22/19;
                                                                           7/2/19;                                               Other
                                                                           7/9/19;
                                                                           7/16/19;
                                                                           7/19/19;
                                                                           7/22/19;
                                                                           7/26/19;
                                                                           7/30/19
       3.4.
               Lift Service, Inc.                                          5/28/19;                           $6,952.75          Secured debt
               PO Box 740039                                               6/19/19;                                              Unsecured loan repayments
               Tuscumbia, AL 35674                                         6/26/19;
                                                                                                                                 Suppliers or vendors
                                                                           6/26/19;
                                                                                                                                 Services
                                                                           6/30/19;
                                                                           7/3/19                                                Other


       3.5.
               Sapphire Lumber Co., Inc                                    6/10/19;                         $22,779.20           Secured debt
               109548 Tammany Lane                                         6/30/19                                               Unsecured loan repayments
               Hamilton, MT 59840
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Sheffield Utilities                                         5/6/19;                          $16,285.11           Secured debt
               PO Box 580                                                  5/6/19;                                               Unsecured loan repayments
               Sheffield, AL 35660                                         6/14/19;                                              Suppliers or vendors
                                                                           6/19/19;                                              Services
                                                                           7/16/19;
                                                                           7/18/19                                               Other Utilities


       3.7.
               Internal Revenue Service                                    5/7/19;                         $115,132.90           Secured debt
               Centralized Insolvency Operations                           5/28/19;                                              Unsecured loan repayments
               PO Box 7346                                                 6/11/19;                                              Suppliers or vendors
               Philadelphia, PA 19101                                      6/17/19;                                              Services
                                                                           7/1/19;
                                                                           7/8/19;                                               Other Taxes
                                                                           7/15/19;
                                                                           7/22/19;
                                                                           7/29/19


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                              Desc Main
                                                                     Document      Page 30 of 44
 Debtor       H&B Holdings, Inc.                                                                        Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    United Lumber & Reman, LLC                       Contract dispute           Circuit Court-Colbert                         Pending
               v. H&B Holdings, Inc. d/b/a                                                 County, Alabama                               On appeal
               Bullington Lumber Co., Inc.,
                                                                                                                                         Concluded
               Robbins Hank
               CV-2019-900035

       7.2.    Wayerhaeuser Company v.                          Contract                   Circuit Court Colbert                         Pending
               H&B Holdings Inc. d/b/a                                                     County, Alabama                               On appeal
               Bullington Lumber
                                                                                                                                         Concluded
               CV-2019-900212

       7.3.    Alabama Department of                            Tax audit                                                                Pending
               Revenue                                                                                                                   On appeal
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                  Desc Main
                                                                     Document      Page 31 of 44
 Debtor      H&B Holdings, Inc.                                                                            Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                        Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To

 Part 8:      Health Care Bankruptcies


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                             Desc Main
                                                                     Document      Page 32 of 44
 Debtor      H&B Holdings, Inc.                                                                         Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
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           Case 19-82417-CRJ11                           Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                            Desc Main
                                                                     Document      Page 33 of 44
 Debtor      H&B Holdings, Inc.                                                                         Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                  Desc Main
                                                                     Document      Page 34 of 44
 Debtor      H&B Holdings, Inc.                                                                         Case number (if known)



          within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                            Desc Main
                                                                     Document      Page 35 of 44
 Debtor      H&B Holdings, Inc.                                                                         Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 13, 2019

 /s/ Harvey F. Robbins, III                                             Harvey F. Robbins, III
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                            Desc Main
                                                                     Document      Page 36 of 44
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re       H&B Holdings, Inc.                                                                               Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  5,000.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 13, 2019                                                             /s/ Stuart M. Maples
     Date                                                                        Stuart M. Maples
                                                                                 Signature of Attorney
                                                                                 Maples Law Firm, PC
                                                                                 200 Clinton Ave. West, Ste 1000
                                                                                 Huntsville, AL 35801
                                                                                 (256) 489-9779 Fax: (256) 489-9720
                                                                                 Name of law firm




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            Case 19-82417-CRJ11                          Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                     Desc Main
                                                                     Document      Page 37 of 44
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      H&B Holdings, Inc.                                                                                        Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 13, 2019                                                        Signature /s/ Harvey F. Robbins, III
                                                                                            Harvey F. Robbins, III

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                                Desc Main
                                                                     Document      Page 38 of 44
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      H&B Holdings, Inc.                                                                                    Case No.
                                                                                 Debtor(s)                        Chapter      11


                                                   BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                              (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $        6,262,152.51
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                    $             108,101.72
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $           67,000.00
          4. Payroll Taxes                                                                                                   2,000.00
          5. Unemployment Taxes                                                                                                  0.00
          6. Worker's Compensation                                                                                           1,800.00
          7. Other Taxes                                                                                                         0.00
          8. Inventory Purchases (Including raw materials)                                                                   5,000.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                              0.00
          10. Rent (Other than debtor's principal residence)                                                                     0.00
          11. Utilities                                                                                                      5,500.00
          12. Office Expenses and Supplies                                                                                   2,000.00
          13. Repairs and Maintenance                                                                                     10,000.00
          14. Vehicle Expenses                                                                                                   0.00
          15. Travel and Entertainment                                                                                           0.00
          16. Equipment Rental and Leases                                                                                    5,600.00
          17. Legal/Accounting/Other Professional Fees                                                                       1,250.00
          18. Insurance                                                                                                      4,000.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                   0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL
                  First Metro Bank                                                                18,000.00
                  CB&S Bank                                                                       12,422.00

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                                $             134,572.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                              $             -26,470.28




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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33                          Desc Main
                                                                     Document      Page 39 of 44
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      H&B Holdings, Inc.                                                                             Case No.
                                                                                   Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       August 13, 2019                                            /s/ Harvey F. Robbins, III
                                                                        Harvey F. Robbins, III/President
                                                                        Signer/Title




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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33            Desc Main
                                                                     Document      Page 40 of 44
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Loretta Lynch US Attorney General       Alabama Deptartment of Revenue         First Metro Bank
US Dept. of Justice                     Department of Revenue Legal Division   406 West Avalon Ave.
950 Pennsylvania Ave NW                 PO Box 320001                          Muscle Shoals, AL 35661
Washington, DC 20530                    Montgomery, AL 36132



Luther Strange                          Arnold's Truck Stop, Inc.              Free State Trucking, LLC
Alabama Attorney General                1460 Highway 20                        64 Co Rd 3729
PO Box 300152                           Tuscumbia, AL 35674                    PO Box 398
Montgomery, AL 36130                                                           Addison, AL 35540



Joyce White Vance                       ASM Consulting, Inc.                   Global Fire Sprinklers, LLC
US Attorney General                     2949 County Road 30                    4242 Bryson Blvd
1801 4th Ave North                      Florence, AL 35634                     Florence, AL 35630
Birmingham, AL 35203



Internal Revenue Service                Baggett Services, Inc.                 H&B Properties, LLC
Centralized Insolvency Operations       2 South 32nd St.                       100 B South Main St.
PO Box 7346                             Birmingham, AL 35233                   Tuscumbia, AL 35674
Philadelphia, PA 19101



State of Alabama                        Beverly Robbins                        Haleyville Saw Shop, Inc.
Department of Revenue Legal Division    100 B South Main St.                   1556 Highway 243 S
PO Box 320001                           Tuscumbia, AL 35674                    Haleyville, AL 35565
Montgomery, AL 36132



De Lage Landen                          C.H. Robinson Worldwide, Inc.          Harvey F. Robbins, III
PO Box 41602                            Receivables Control Corp. (RCC)        100 B South Main St.
Philadelphia, PA 19101                  7373 Kirkwood Ct., Ste 200             Tuscumbia, AL 35674
                                        Osseo, MN 55369



Wells Fargo Lift                        Carter Oil Company                     Hoker Trucking
Manufacturer Services Group             PO Box 487                             30923 52nd Ave
San Francisco, CA 94120                 Sheffield, AL 35660                    Dixon, IA 52745




Alabama Department of Revenue           CB&S                                   Integrated Corporate Solutions, Inc
PO Box 327483                           PO Box 910                             PO Box 443
Montgomery, AL 36132                    Russellville, AL 35653                 Florence, AL 35631




Alabama Dept. of Revenue                EV Logistics                           JLE Industries, LLC
PO Box 2401                             26 W. Zarate St.                       119 ICMI Rd, Ste 210
Montgomery, AL 36140                    Rio Grande City, TX 78582              Dunbar, PA 15431



        Case 19-82417-CRJ11         Doc 1     Filed 08/13/19 Entered 08/13/19 12:15:33     Desc Main
                                            Document      Page 41 of 44
John Ellis Trucking, Inc.         Pendu MFG, Inc.                      Taylor Supply Center
3078 Lake Grove Dr.               718 North Shirk Rd.                  c/o Roy Taylor
Hernando, MS 38632                New Holland, PA 17557                PO Box 1026
                                                                       Russellville, AL 35653



JRC Transportation, Inc.          Pitney Bowes                         Three Chimney Express, Inc.
PO Box 15101                      PO Box 371887                        2962 Three Chimney Rd
Newark, NJ 07192                  Pittsburgh, PA 15250                 Viroqua, WI 54665




Just Right Services, Inc.         Premier Trailers, LLC                Timber Products Inspection
574 Rose of Sharon Rd             PO Box 206553                        PO Box 919
Cutler, IL 62238                  Dallas, TX 75320                     Conyers, GA 30012




Miner Saw, Inc.                   Purchase Power                       Total Quality Logistics
PO Box 2214                       PO Box 371874                        PO Box 634558
Decatur, AL 35609                 Pittsburgh, PA 15250                 Cincinnati, OH 45263




MJS Transportation, Inc.          Quill                                Troy Corporation
PO Box 816                        PO Box 37600                         PO Box 824736
Decatur, IN 46733                 Philadelphia, PA 19101               Philadelphia, PA 19182




Motion Industries, Inc.           Robbins Properties, Inc.             TW3 c/o Transport Clearing East
PO Box 404130                     100 B South Main St.                 4651 Charlotte Park Dr., Ste 450
Atlanta, GA 30384                 Tuscumbia, AL 35674                  Charlotte, NC 28217




Nextran Truck Center              Shappire Lumber Co., Inc.            United Lumber
PO Box 820                        109548 Tammany Lane                  980 Ford Rd
Fultondale, AL 35068              Hamilton, MT 59840                   Muscle Shoals, AL 35661




Ohio Valley Transport, Inc.       Shoals Rubber & Gasket               Vulco Auto Supply
750 Economy Dr.                   PO Box 1786                          416 Buffalo Rd.
Clarksville, TN 37043             Decatur, AL 35602                    Lawrenceburg, TN 38464




On Time Truck Hauling             Sunbelt Paper and Packaging          Weyerhauser
21820 Grand Lancelot Dr.          PO Box 521                           PO Box 843568
Kingwood, TX 77339                Saginaw, AL 35137                    Dallas, TX 75284



       Case 19-82417-CRJ11    Doc 1     Filed 08/13/19 Entered 08/13/19 12:15:33    Desc Main
                                      Document      Page 42 of 44
Karen Schwartz McClure, Esq.
1609 Richard Arrington Jr. Blvd. South
Birmingham, AL 35205




      Case 19-82417-CRJ11          Doc 1     Filed 08/13/19 Entered 08/13/19 12:15:33   Desc Main
                                           Document      Page 43 of 44
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      H&B Holdings, Inc.                                                                             Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for H&B Holdings, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 13, 2019                                                       /s/ Stuart M. Maples
 Date                                                                  Stuart M. Maples
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for H&B Holdings, Inc.
                                                                       Maples Law Firm, PC
                                                                       200 Clinton Ave. West, Ste 1000
                                                                       Huntsville, AL 35801
                                                                       (256) 489-9779 Fax:(256) 489-9720




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          Case 19-82417-CRJ11                            Doc 1         Filed 08/13/19 Entered 08/13/19 12:15:33            Desc Main
                                                                     Document      Page 44 of 44
